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                                                             12   Attorneys for Defendant, RMS International (USA) Inc.
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                                                             13
                                                             14                        UNITED STATES DISTRICT COURT
                                                             15                      CENTRAL DISTRICT OF CALIFORNIA
                                                             16
                                                                  LANARD TOYS LIMITED,                   )   CASE NO. 2:18-CV-05845 CAS (MAAx)
                                                             17                                          )
                                                                                 Plaintiff,              )   DEFENDANT RMS INTERNATIONAL
                                                             18                                          )   (USA) INC.’S ANSWER AND
                                                                        vs.                              )   COUNTERCLAIMS TO PLAINTIFF’S
                                                             19                                          )   FIRST AMENDED COMPLAINT
                                                                  FIVE BELOW, INC. and RMS               )
                                                             20   INTERNATIONAL (USA) INC.,              )
                                                                                                         )
                                                             21                  Defendants.             )
                                                                                                         )
                                                             22                                          )
                                                                                                         )
                                                             23                                          )
                                                                                                         )
                                                             24                                          )
                                                             25
                                                             26         //
                                                             27         //
                                                             28                               1
                                                                      DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                       COUNTERCLAIMS
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                                                             1          Defendant RMS International (USA) Inc. (“RMS”) hereby answers the First
                                                             2    Amended Complaint of Plaintiff Lanard Toys Limited (“Lanard”) and asserts its
                                                             3    Affirmative Defenses and Counterclaims as follows.
                                                             4          For convenience, RMS repeats the headings employed by Plaintiff. In so
                                                             5    doing, however, RMS expressly does not admit or concede any allegation in the
                                                             6    Complaint.
                                                             7          1.     The statements in Paragraph 1 are legal in nature and, as such, require no
                                                             8    response from RMS.
                                                             9                        Response as to “NATURE OF THE ACTION”
                                                             10         2.     Admitted that the First Amended Complaint purports to set forth claims
                                                             11   for false designation of origin, trademark infringement, design patent infringement,
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                                                             12   copyright infringement and unfair competition. With respect to Five Below, Inc.
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                                                             13   (“Five Below”) and the accused “toy foam gun that shoots soft foam darts,” which is
                                                             14   not an RMS product, RMS is without information sufficient to form a belief as to the
                                                             15   truth of the allegations in Paragraph 2. In all other respects, the allegations in
                                                             16   Paragraph 2 are denied.
                                                             17                       Response as to “THE PARTIES”
                                                             18         3.     RMS is without information sufficient to form a belief as to the truth of
                                                             19   the allegations in Paragraph 3.
                                                             20         4.     RMS is without information sufficient to form a belief as to the truth of
                                                             21   the allegations in Paragraph 4.
                                                             22         5.     Denied that RMS currently has its principal place of business in Florida.
                                                             23   RMS currently has its principal place of business in the Commonwealth of
                                                             24   Massachusetts. Further denied that RMS Hong Kong “sells” directly into the United
                                                             25   States. Orders received by RMS International (USA), Inc. are fulfilled by affiliate
                                                             26   RMS Hong Kong, but RMS International (USA), Inc. directly invoices its customers
                                                             27   for such orders. In all other respects, the allegations in Paragraph 5 are admitted.
                                                             28                                2
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
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                                                             1                     Response as to “JURISDICTION AND VENUE”
                                                             2          6.     Admitted that the First Amended Complaint purports to set forth claims
                                                             3    under the patent laws of the United States, the federal Lanham Act, the United States
                                                             4    Copyright Act, and California law relating to unfair competition. In all other
                                                             5    respects, the allegations in Paragraph 6 are denied.
                                                             6          7.     The statements in Paragraph 7 are legal in nature and, as such, require no
                                                             7    response from RMS.
                                                             8          8.     The statements in Paragraph 8 are legal in nature and, as such, require no
                                                             9    response from RMS.
                                                             10         9.     The statements in Paragraph 9 regarding venue are legal in nature and,
                                                             11   as such, require no response from RMS. In all other respects, the allegations in
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                                                             12   Paragraph 9 are denied.
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                                                             13         10.    Denied as to the accused CHALK SMASH Product and the actions of
                                                             14   RMS. As to the accused AIR FORCE Quick-Fire Air Blaster Product (which is not
                                                             15   an RMS product) and the actions of Five Below, RMS is without information
                                                             16   sufficient to form a belief as to the truth of the allegations in Paragraph 10.
                                                             17                        Response as to “BACKGROUND FACTS”
                                                             18       Response as to “Lanard And Its Distinctive CHALK BOMB!® Product”
                                                             19         11.    RMS is without information sufficient to form a belief as to the truth of
                                                             20   the allegations in Paragraph 11.
                                                             21         12.    RMS is without information sufficient to form a belief as to the truth of
                                                             22   the allegations in Paragraph 12.
                                                             23         13.    RMS is without information sufficient to form a belief as to the truth of
                                                             24   the allegations in Paragraph 13.
                                                             25         14.    Admitted that Exhibits A and B purport to be copies of certificates of
                                                             26   United States copyright registration bearing Registration Numbers VA 2-022-296 and
                                                             27   VA 1-999-283, respectively, and listing Lanard Toys Limited as copyright claimant.
                                                             28                                3
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
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                                                             1    In all other respects, including with respect to the authenticity of Exhibits A and B,
                                                             2    RMS is without information sufficient to form a belief as to the truth of the
                                                             3    allegations in Paragraph 14.
                                                             4          15.    Admitted that Exhibit C purports to be a copy of a United States
                                                             5    trademark registration for the mark CHALK BOMB! within International Class 028
                                                             6    for “[t]oys comprised of chalk powder, namely, tossing toys and drawing toys,”
                                                             7    bearing Reg. No. 5,046,808 in the name of Lanard Toys Limited. In all other
                                                             8    respects, including with respect to the authenticity of Exhibit C, RMS is without
                                                             9    information sufficient to form a belief as to the truth of the allegations in Paragraph
                                                             10   15.
                                                             11         16.    Admitted that Exhibits D and E purport to be copies of United States
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                                                             12   design patents bearing Patent Nos. D804,596 and D815,220 (the “’596 Patent” and
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                                                             13   “’220 Patent,” respectively), and listing Lanard Toys Limited as applicant. In all
                                                             14   other respects, including with respect to the authenticity of Exhibits D and E, RMS is
                                                             15   without information sufficient to form a belief as to the truth of the allegations in
                                                             16   Paragraph 16.
                                                             17         17.    Denied.
                                                             18         18.    Denied.
                                                             19     Response as to “Lanard And Its Original ‘Total X-Stream Air Over Under’
                                                             20                                          Product”
                                                             21         19.    RMS is without information sufficient to form a belief as to the truth of
                                                             22   the allegations in Paragraph 19.
                                                             23                    Response as to “Defendants’ Wrongful Conduct”
                                                             24               Response as to “Infringement of Lanard’s ‘Chalk Bomb!’”
                                                             25         20.    Admitted that RMS has sold a CHALK SMASH Product to a single
                                                             26   customer, Five Below, and that Paragraph 20 purports to reflect an image of that
                                                             27   product alongside the asserted Lanard product. Denied that the “CHALK BOMB®!”
                                                             28                                 4
                                                                        DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                         COUNTERCLAIMS
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                                                             1    heading over the image of the asserted Lanard product accurately reflects the asserted
                                                             2    trademark registration, since the mark covered by the ’808 Registration includes an
                                                             3    exclamation point. Further denied that the CHALK SMASH Product requires any
                                                             4    “authorization” from Lanard or is “infringing.” With respect to the purported image
                                                             5    of Lanard’s CHALK BOMB! Product and the actions of Five Below, RMS is without
                                                             6    information sufficient to form a belief as to the truth of the allegations in Paragraph
                                                             7    20. To the extent any further response is required, the allegations in Paragraph 20 are
                                                             8    denied.
                                                             9          21.    Paragraph 21 is nonsensical as worded; it apparently contains a
                                                             10   grammatical error and/or is missing one or more words. RMS therefore responds
                                                             11   based on its understanding of the intended meaning of the paragraph. Admitted that
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                                                             12   RMS’s CHALK SMASH Product comes in a variety of fabric colors and internal
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                                                             13   chalk colors. Denied that the CHALK SMASH Product, its fabric colors and/or its
                                                             14   internal chalk colors are “identical or substantially similar to Lanard’s CHALK
                                                             15   BOMB! Product.” To the extent any further response is required, the allegations in
                                                             16   Paragraph 21 are denied.
                                                             17         22.    Denied.
                                                             18         23.    Admitted that RMS has manufactured and supplied to Five Below a
                                                             19   CHALK SMASH Product that is sold in variety packs containing four differently-
                                                             20   colored fabric bags with colored internal chalk. With respect to the actions of Five
                                                             21   Below, RMS is without information sufficient to form a belief as to the truth of the
                                                             22   allegations in Paragraph. To the extent any further response is required, the
                                                             23   allegations in Paragraph 23 are denied.
                                                             24         24.    With respect to the actions of Five Below, RMS is without information
                                                             25   sufficient to form a belief as to the truth of the allegations in Paragraph 24. In all
                                                             26   other respects, the allegations in Paragraph 24 are denied.
                                                             27
                                                             28                                5
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
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                                                             1          25.    Denied that the CHALK SMASH Product infringes any intellectual
                                                             2    property right of Lanard. In all other respects, RMS is without information sufficient
                                                             3    to form a belief as to the truth of the allegations in Paragraph 25.
                                                             4          26.    Admitted that Lanard has previously filed (and ultimately dismissed)
                                                             5    suits against RMS in the Western District of Missouri and Central District of
                                                             6    California in connection with “Chalk Attack” and “Chalk Bomb” Products,
                                                             7    respectively. Admitted that the CHALK SMASH Product has a different design than
                                                             8    either of the foregoing products, including based on the absence of a “fuse,” but
                                                             9    denied that the absence of a “fuse” is the only difference between the design of the
                                                             10   CHALK SMASH Product and those other products. Admitted that RMS received a
                                                             11   letter concerning a “Bubble Copter” Product in or around 2014, but denied that such
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                                                             12   product infringed any intellectual property right of Lanard. In all other respects, the
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                                                             13   allegations in Paragraph 26 are denied.
                                                             14         27.    Admitted that Paragraph 27 purports to juxtapose images of the accused
                                                             15   CHALK SMASH Product and images from the asserted design patents. In all other
                                                             16   respects, the allegations in Paragraph 27 are denied.
                                                             17         28.    Denied.
                                                             18         29.    Denied.
                                                             19         30.    Denied.
                                                             20         31.    With respect to the state of mind of Five Below, RMS is without
                                                             21   information sufficient to form a belief as to the truth of the allegations in Paragraph
                                                             22   31. In all other respects, the allegations in Paragraph 31 are denied.
                                                             23         32.    Denied.
                                                             24    Response as to “Infringement of Lanard’s ‘Total X Stream Air Over Under’”
                                                             25         33.    RMS is without information sufficient to form a belief as to the truth of
                                                             26   the allegations in Paragraph 33.
                                                             27
                                                             28                                6
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                                  Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 7 of 27 Page ID #:190



                                                             1          34.    RMS is without information sufficient to form a belief as to the truth of
                                                             2    the allegations in Paragraph 34.
                                                             3          35.    RMS is without information sufficient to form a belief as to the truth of
                                                             4    the allegations in Paragraph 35.
                                                             5          36.    RMS is without information sufficient to form a belief as to the truth of
                                                             6    the allegations in Paragraph 36.
                                                             7          37.    RMS is without information sufficient to form a belief as to the truth of
                                                             8    the allegations in Paragraph 37.
                                                             9          38.    RMS is without information sufficient to form a belief as to the truth of
                                                             10   the allegations in Paragraph 38.
                                                             11         39.    RMS is without information sufficient to form a belief as to the truth of
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                                                             12   the allegations in Paragraph 39.
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                                                             13                      Response as to FIRST CLAIM FOR RELIEF
                                                             14                Alleged False Designation of Origin (15 U.S.C. § 1125(a))
                                                             15         40.    RMS repeats and restates its responses to paragraphs 1 through 39 as
                                                             16   though set forth fully herein.
                                                             17         41.    Denied that United States Trademark Registration No. 5,046,808 (the
                                                             18   ’808 Registration) is valid. In all other respects, RMS is without information
                                                             19   sufficient to form a belief as to the truth of the allegations in Paragraph 41.
                                                             20         42.    Denied.
                                                             21         43.    Denied.
                                                             22         44.    Denied.
                                                             23         45.    As to the state of mind of Five Below, RMS is without information
                                                             24   sufficient to form a belief as to the truth of the allegations in Paragraph 45. In all
                                                             25   other respects, the allegations in Paragraph 45 are denied.
                                                             26
                                                             27
                                                             28                                7
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
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                                                             1                      Response as to SECOND CLAIM FOR RELIEF
                                                             2                    Alleged Trademark Infringement (15 U.S.C. § 1114)
                                                             3          46.    RMS repeats and restates its responses to paragraphs 1 through 45 as
                                                             4    though set forth fully herein.
                                                             5          47.    The statements in Paragraph 47 are legal in nature and, as such, require
                                                             6    no response from RMS.
                                                             7          48.    Denied that the ’808 Registration is valid. In all other respects, RMS is
                                                             8    without information sufficient to form a belief as to the truth of the allegations in
                                                             9    Paragraph 48.
                                                             10         49.    Denied.
                                                             11         50.    Denied.
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                                                             12         51.    As to the state of mind of Five Below, RMS is without information
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                                                             13   sufficient to form a belief as to the truth of the allegations in Paragraph 51. In all
                                                             14   other respects, the allegations in Paragraph 51 are denied.
                                                             15         52.    As to the state of mind of Five Below, RMS is without information
                                                             16   sufficient to form a belief as to the truth of the allegations in Paragraph 52. In all
                                                             17   other respects, the allegations in Paragraph 52 are denied.
                                                             18         53.    Denied.
                                                             19         54.    Denied.
                                                             20         55.    As to the state of mind of Five Below, RMS is without information
                                                             21   sufficient to form a belief as to the truth of the allegations in Paragraph 55. In all
                                                             22   other respects, the allegations in Paragraph 55 are denied.
                                                             23                      Response as to THIRD CLAIM FOR RELIEF
                                                             24                 Alleged Patent Infringement of D804,596 and D815,220
                                                             25         56.    RMS repeats and restates its responses to paragraphs 1 through 55 as
                                                             26   though set forth fully herein.
                                                             27         57.    Denied.
                                                             28                                8
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                                  Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 9 of 27 Page ID #:192



                                                             1          58.    Denied.
                                                             2          59.    As to the state of mind of Five Below, RMS is without information
                                                             3    sufficient to form a belief as to the truth of the allegations in Paragraph 59. In all
                                                             4    other respects, the allegations in Paragraph 59 are denied.
                                                             5          60.    Denied.
                                                             6          61.    Denied as to RMS; based on preliminary investigation, RMS has
                                                             7    realized only negligible profits on the CHALK SMASH Product. As to Five Below,
                                                             8    RMS is without information sufficient to form a belief as to the truth of the
                                                             9    allegations in Paragraph 61.
                                                             10         62.    Denied.
                                                             11                     Response as to FOURTH CLAIM FOR RELIEF
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                                                             12                Alleged Copyright Infringement (17 U.S.C. § 101 et seq.)
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                                                             13         63.    RMS repeats and restates its responses to paragraphs 1 through 62 as
                                                             14   though set forth fully herein.
                                                             15         64.    Lanard’s Fourth Claim for Relief is directed only to Five Below and, as
                                                             16   such, Paragraph 64 requires no response from RMS.
                                                             17         65.    Lanard’s Fourth Claim for Relief is directed only to Five Below and, as
                                                             18   such, Paragraph 65 requires no response from RMS.
                                                             19         66.    Lanard’s Fourth Claim for Relief is directed only to Five Below and, as
                                                             20   such, Paragraph 66 requires no response from RMS.
                                                             21         67.    Lanard’s Fourth Claim for Relief is directed only to Five Below and, as
                                                             22   such, Paragraph 67 requires no response from RMS.
                                                             23                      Response as to FIFTH CLAIM FOR RELIEF
                                                             24          Alleged Unfair Competition (Cal. Bus. & Prof. Code § 17200 et seq.)
                                                             25         68.    RMS repeats and restates its responses to paragraphs 1 through 67 as
                                                             26   though set forth fully herein.
                                                             27         69.    Denied.
                                                             28                                9
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
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                                                             1          70.    As to the state of mind of Five Below, RMS is without information
                                                             2    sufficient to form a belief as to the truth of the allegations in Paragraph 70. In all
                                                             3    other respects, the allegations in Paragraph 70 are denied.
                                                             4          71.    Denied.
                                                             5          72.    Denied as to RMS; based on preliminary investigation, RMS has
                                                             6    realized only negligible profits on the CHALK SMASH Product. As to Five Below,
                                                             7    RMS is without information sufficient to form a belief as to the truth of the
                                                             8    allegations in Paragraph 72 as to either the “Accused Gun” (which is not an RMS
                                                             9    product) or the CHALK SMASH Product.
                                                             10         73.    Denied.
                                                             11                               AFFIRMATIVE DEFENSES
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                                                             12         74.    RMS asserts the following affirmative defenses, undertaking the burden
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                                                             13   of proof only insofar as required by law, and regardless of whether any given defense
                                                             14   is denominated as an affirmative defense herein.
                                                             15         75.    RMS reserves the right to assert any and all additional defenses that
                                                             16   discovery may reveal.
                                                             17                                  First Affirmative Defense
                                                             18         74.    Lanard has failed to state a claim upon which relief may be granted.
                                                             19                                Second Affirmative Defense
                                                             20         75.    Lanard’s claims for relief are barred in whole or in part because any
                                                             21   alleged infringement is de minimis.
                                                             22                                 Third Affirmative Defense
                                                             23         76.    Lanard’s claims for relief are barred in whole or in part as a result of
                                                             24   Lanard’s failure to mitigate its damages, if any.
                                                             25                                Fourth Affirmative Defense
                                                             26         77.    Lanard’s claims for relief are barred in whole or in part by the doctrines
                                                             27   of unclean hands, inequitable conduct, trademark misuse and/or patent misuse.
                                                             28                               10
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 11 of 27 Page ID #:194



                                                             1                                  Fifth Affirmative Defense
                                                             2          78.    The CHALK BOMB! mark and any asserted trade dress are invalid or
                                                             3    unenforceable because they are not distinctive; are generic; are descriptive and have
                                                             4    not acquired secondary meaning as to Lanard; and/or are functional.
                                                             5                                  Sixth Affirmative Defense
                                                             6          79.    Lanard’s claims for relief are barred in whole or in part because there is
                                                             7    no likelihood of consumer confusion between the CHALK BOMB! and CHALK
                                                             8    SMASH marks, or between any asserted trade dress associated with the CHALK
                                                             9    BOMB! Product and the trade dress of the CHALK SMASH Product.
                                                             10                               Seventh Affirmative Defense
                                                             11         80.    The asserted design patents are invalid for failure to satisfy one or more
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                                                             12   of the requirements of patentability set forth in 35 U.S.C. §§ 101 et seq., including
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                                                             13   without limitation §§ 102, 103, 112 and/or 171.
                                                             14                                Eighth Affirmative Defense
                                                             15         81.    Lanard lacks standing under California Bus. & Prof. Code § 17200
                                                             16   because it is an unaffected party that has not suffered injury in fact and/or lost money
                                                             17   or property as a result of the alleged unfair competition.
                                                             18                                 Ninth Affirmative Defense
                                                             19         82.    Lanard’s claims for relief are barred in whole or in part because it has
                                                             20   not suffered any irreparable harm as a result of the alleged conduct and/or has an
                                                             21   adequate remedy at law.
                                                             22                                Tenth Affirmative Defense
                                                             23         83.    Lanard’s claims for relief are barred in whole or in part because
                                                             24   exemplary and/or punitive damages are not permitted by California Bus. & Prof.
                                                             25   Code § 17200 et seq. and/or 15 U.S.C § 1117.
                                                             26
                                                             27
                                                             28                               11
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
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                                                             1                                 Eleventh Affirmative Defense
                                                             2             84.   Lanard’s claims for relief are barred in whole or in part because Lanard
                                                             3    cannot prove that this is an exceptional case under 15 U.S.C. § 1117 and/or 35 U.S.C.
                                                             4    § 285.
                                                             5                                  Twelfth Affirmative Defense
                                                             6             85.   Lanard’s claims for relief are barred in whole or in part by 35 U.S.C. §§
                                                             7    287 and/or 288.
                                                             8                                      COUNTERCLAIMS
                                                             9             Pursuant to Rule 13 of the Federal Rules of Civil Procedure, Defendant and
                                                             10   Counterclaim-Plaintiff RMS asserts the following counterclaims against Plaintiff and
                                                             11   Counterclaim-Defendant Lanard:
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                                                             12                                           PARTIES
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                                                             13            86.   RMS is a Florida corporation with its principal place of business at 4
                                                             14   Gill St., Suite AA, Woburn, MA 01801.
                                                             15            87.   Upon information and belief, Lanard is a Hong Kong company with its
                                                             16   principle place of business at Elite Centre, 28th Floor, 22 Hung To Road, Kwun Tong,
                                                             17   Kowloon, Hong Kong.
                                                             18                               JURISDICTION AND VENUE
                                                             19            88.   These Counterclaims arise under the Declaratory Judgment Act, 28
                                                             20   U.S.C. §§ 2201 and 2202; the Lanham Act, 15 U.S.C. §§ 1051 et seq.; and the United
                                                             21   States Patent Laws, 35 U.S.C. §§ 101 et seq.
                                                             22            89.   This Court has subject matter jurisdiction over these Counterclaims
                                                             23   pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), 1338(b), 1367 and 2201.
                                                             24            90.   This Court has personal jurisdiction over Lanard by virtue of Lanard
                                                             25   having filed the First Amended Complaint in the Court.
                                                             26            91.   Venue for these Counterclaims is proper in this Court pursuant to 28
                                                             27   U.S.C. §§ 1391 and 1400.
                                                             28                              12
                                                                      DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                       COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 13 of 27 Page ID #:196



                                                             1                                       BACKGROUND
                                                             2                       The Dissimilar Marks And Packaging At Issue
                                                             3           92.    Upon information and belief, Lanard manufactures and sells a toy under
                                                             4    the CHALK BOMB! mark.
                                                             5           93.    RMS manufactures and has sold a toy under the CHALK SMASH mark
                                                             6    to a single customer, namely, Five Below.
                                                             7           94.    Images of the relevant products in their packaging appear below:
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                                                             18          95.    The CHALK BOMB! mark and CHALK SMASH mark are, on the
                                                             19   whole, visually dissimilar from each other, both as word marks and as used in
                                                             20   commerce.
                                                             21          96.    This overall dissimilarity is the result of numerous differences that
                                                             22   would be immediately obvious to any consumer. For instance, and without
                                                             23   limitation, the CHALK BOMB! mark includes an exclamation point while the
                                                             24   CHALK SMASH mark does not; the two marks employ different words; the marks
                                                             25   employ very different fonts as used in commerce; and the CHALK BOMB! mark as
                                                             26   used in commerce uses both capital and lowercase letters while the CHALK SMASH
                                                             27   mark is in all capitals.
                                                             28                               13
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
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                                                             1          97.    Likewise, the packaging and trade dress associated with the CHALK
                                                             2    BOMB! Product and CHALK SMASH Product are visually dissimilar, and reflect
                                                             3    numerous obvious differences.
                                                             4          98.    For instance, and without limitation, on information and belief the
                                                             5    CHALK BOMB! Product is sold individually and in packs of three and ten, whereas
                                                             6    the CHALK SMASH Product is sold in packs of four; each CHALK BOMB! Product
                                                             7    has a word mark printed on the product itself, while no work mark is visible on the
                                                             8    individual CHALK SMASH Products as packaged; and the CHALK BOMB! Product
                                                             9    packaging features a neon-colored fuse, whereas no fuse is visible on the CHALK
                                                             10   SMASH Product as packaged; and the CHALK BOMB! Product and CHALK
                                                             11   SMASH Product are made of visibly different materials.
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                                                             12         99.    Upon information and belief, Lanard disclaimed trademark rights over
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                                                             13   the word “chalk” in order to obtain the ’808 Registration.
                                                             14         100. Lanard’s CHALK BOMB! Product and RMS’s CHALK SMASH
                                                             15   Product are sold to different customers in different channels of commerce.
                                                             16                 The Relevant Design Patents & Invalidating Prior Art
                                                             17         101. Below are images of the designs claimed by the ’596 and ’220 Patents:
                                                             18                        ’596 Patent             ’220 Patent
                                                             19
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                                                             24         102. The ’596 Patent and the ’220 Patent each claim a priority date of
                                                             25   February 11, 2016.
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                                                             28                               14
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 15 of 27 Page ID #:198



                                                             1          103. Those designs are anticipated by numerous pieces of prior art. For
                                                             2    instance, and without limitation, briefly searching the internet reveals the following
                                                             3    pieces of invalidating prior art.
                                                             4          104. Upon information and belief, a VAT19 brand Chalk Bomb product
                                                             5    (pictured below) has been available since at least 2011 and invalidates both the ’596
                                                             6    and ’220 Patents, as well as the ‘808 Registration:
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                                                             13
                                                                  https://www.google.com/search?source=hp&ei=d860W7iwK5Gk_QbL46eoBQ&q=v
                                                             14
                                                                  at+19+chalk+bombs&btnK=Google+Search&oq=vat+19+chalk+bombs&gs_l=psy-
                                                             15
                                                                  ab.3..0i13.1157.4598..4728...1.0..0.334.1674.18j1j0j1....2..0....1..gws-
                                                             16
                                                                  wiz.....0..0j35i39j0i131j0i10j0i22i30j0i22i10i30j35i304i39j0i13i30j0i8i13i30j33i21.f
                                                             17
                                                                  X5DZwbqFCY (accessed 10/03/2018).
                                                             18
                                                             19
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                                                             26
                                                                  Source: https://www.vat19.com/item/chalk-bombs-toy (accessed 10/03/2018).
                                                             27
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                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 16 of 27 Page ID #:199



                                                             1          105. Upon information and belief, a BATMAN™ BOMB toy (pictured
                                                             2    below) has been available since at least 2014 and invalidates both the ’596 and ’220
                                                             3    Patents:
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                                                             13   Source:
                                                             14   http://figurestoycompany.com/batmanclassictvseriesdarkbluebatarangaccessory-1-1-
                                                             15   1-1-1-1-1-1.aspx (accessed 9/20/2018).
                                                             16
                                                             17         106. Upon information and belief, a Color Powder Toy (pictured below) has
                                                             18   been available since at least 2015 and invalidates at least the ’220 Patent:
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                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 17 of 27 Page ID #:200



                                                             1    Source:
                                                             2    https://www.amazon.com/dp/B00T6NCAKU/ref=sspa_dk_detail_0?psc=1&pd_rd_i=
                                                             3    B00T6NCAKU (accessed 9/21/18).
                                                             4
                                                             5          107. Upon information and belief, a climbing chalk ball (pictured below) has
                                                             6    been available since at least 2015 and invalidates at least the ’220 Patent:
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                                                             13
                                                             14   Source: https://www.amazon.co.uk/Stubai-Chalk-Ball-x5-Set-
                                                             15   Offer/dp/B00LNEC1JA/ref=sr_1_1?ie=UTF8&qid=1538495882&sr=8-
                                                             16   1&keywords=stubai+chalk+ball (accessed 10/03/2018).
                                                             17
                                                             18         108. Upon information and belief, an athletic chalk ball (pictured below both
                                                             19   with and without a fuse-like string at the top) has been available since at least 2014
                                                             20   and invalidates both the ’596 and ’220 Patents:
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                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 18 of 27 Page ID #:201



                                                             1    Source: https://www.amazon.com/Z-Athletic-Chalk-Ball-for-
                                                             2    Gymnastics/dp/B07DNYKT2P/ref=pd_sbs_468_4?_encoding=UTF8&pd_rd_i=B07
                                                             3    DNYKT2P&pd_rd_r=f7240f84-bd02-11e8-bbb7-
                                                             4    a1e6f2a82859&pd_rd_w=TRlaV&pd_rd_wg=Fnj2C&pf_rd_i=desktop-dp-
                                                             5    sims&pf_rd_m=ATVPDKIKX0DER&pf_rd_p=0bb14103-7f67-4c21-9b0b-
                                                             6    31f42dc047e7&pf_rd_r=G63808TMTBZYF4779D8E&pf_rd_s=desktop-dp-
                                                             7    sims&pf_rd_t=40701&refRID=G63808TMTBZYF4779D8E%20-
                                                             8    %20customerReviews (accessed 9/20/18).
                                                             9
                                                             10         109. Upon information and belief, bomb-shaped Super Mario candies
                                                             11   (pictured below) have been available since at least 2011 and invalidate both the ’596
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                                                             12   and ’220 Patents:
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                                                             20   Source: https://www.pinterest.com/pin/457748749597936712/ (accessed 9/20/18).
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                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 19 of 27 Page ID #:202



                                                             1    Source: https://www.youtube.com/watch?v=xaaK0-Ypl2Y (accessed 9/20/18).
                                                             2
                                                             3          110. Upon information and belief, a bomb-shaped dog toy (pictured below)
                                                             4    has been available since at least 2011 and invalidates both the ’596 and ’220 Patents:
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                                                             13   Source: https://www.amazon.com/Tuffy-Rugged-Rubber-Bomb-
                                                             14   Medium/dp/B002O4PXX4/ref=pd_cp_199_1?_encoding=UTF8&pd_rd_i=B002O4P
                                                             15   XX4&pd_rd_r=57606afd-bd06-11e8-91c0-
                                                             16   8d9d1b6891e3&pd_rd_w=NfQTm&pd_rd_wg=FT9AJ&pf_rd_i=desktop-dp-
                                                             17   sims&pf_rd_m=ATVPDKIKX0DER&pf_rd_p=3f5155f5-5438-4fc3-ab83-
                                                             18   bf013cfc8883&pf_rd_r=R91253Q6M09XSCXDSRZB&pf_rd_s=desktop-dp-
                                                             19   sims&pf_rd_t=40701&psc=1&refRID=R91253Q6M09XSCXDSRZB (accessed
                                                             20   9/20/18).
                                                             21
                                                             22         111. Upon information and belief, a toy bomb used in a Pass the Bomb game
                                                             23   (pictured below) has been available since at least 2015 and invalidates both the ’596
                                                             24   and ’220 Patents:
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                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 20 of 27 Page ID #:203



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                                                             10   Source: https://www.amazon.com/Gibsons-Easiplay-Pass-Bomb-
                                                             11   Game/dp/B00009R62N/ref=pd_cp_21_1?_encoding=UTF8&pd_rd_i=B00009R62N
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                                                             12   &pd_rd_r=5c5af99e-bdbb-11e8-9f86-
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                                                             13   cff56757bc74&pd_rd_w=Q6uAh&pd_rd_wg=qemNd&pf_rd_i=desktop-dp-
                                                             14   sims&pf_rd_m=ATVPDKIKX0DER&pf_rd_p=3f5155f5-5438-4fc3-ab83-
                                                             15   bf013cfc8883&pf_rd_r=R9VXWY2N16X5KXN2N7HE&pf_rd_s=desktop-dp-
                                                             16   sims&pf_rd_t=40701&psc=1&refRID=R9VXWY2N16X5KXN2N7HE (accessed
                                                             17   9/21/18).
                                                             18                                 COUNTERCLAIM ONE
                                                             19      (Declaratory Judgment – Non-infringement of the Registered Trademark)
                                                             20         112. RMS repeats the allegations of Paragraphs 86 through 111 as if fully set
                                                             21   forth herein.
                                                             22         113. Lanard claims to own the ’808 Registration covering the CHALK
                                                             23   BOMB! mark.
                                                             24         114. Lanard has filed the First Amended Complaint alleging that RMS’s use
                                                             25   of a CHALK SMASH mark has infringed and continues to infringe the ’808
                                                             26   Registration. As such, a justiciable controversy exists between the parties as to
                                                             27   infringement of the ’808 Registration.
                                                             28                               20
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
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                                                             1           115. RMS does not and has never infringed the ’808 Registration because
                                                             2    there is no likelihood of confusion between Lanard’s CHALK BOMB! mark and
                                                             3    RMS’s CHALK SMASH mark.
                                                             4           116. As a result of Lanard’s wrongful allegations of infringement, RMS has
                                                             5    suffered and will continue to suffer damages, including but not limited to lost sales,
                                                             6    unwarranted costs and fees, and harm to RMS’s reputation and goodwill.
                                                             7                                     COUNTERCLAIM TWO
                                                             8       (Declaratory Judgment – Invalidity and Unenforceability of the Registered
                                                             9                                         Trademark)
                                                             10          117. RMS repeats the allegations of Paragraphs 86 through 116 as if fully set
                                                             11   forth herein.
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                                                             12          118. The ’808 Registration is invalid and/or unenforceable due to a failure to
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                                                             13   satisfy the requirements for protection under the Lanham Act, 15 U.S.C. §§ 1051 et
                                                             14   seq.
                                                             15          119. The CHALK BOMB! mark is not distinctive, either inherently or
                                                             16   because it has not acquired secondary meaning.
                                                             17          120. Consumers do not associate the CHALK BOMB! mark with Lanard, and
                                                             18   the mark does not identify or distinguish Lanard’s product from the goods of others
                                                             19   in the minds of consumers.
                                                             20          121. The ’808 Registration is unenforceable under the doctrine of trademark
                                                             21   misuse, and also due to Lanard’s inequitable conduct and unclean hands with respect
                                                             22   to its claims of infringement.
                                                             23                                COUNTERCLAIM THREE
                                                             24    (Declaratory Judgment – Non-infringement of Any Allegedly Infringed Trade
                                                             25                                           Dress)
                                                             26          122. RMS repeats the allegations of Paragraphs 86 through 121 as if fully set
                                                             27   forth herein.
                                                             28                                 21
                                                                         DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                          COUNTERCLAIMS
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                                                             1          123. To the extent Lanard purports to assert in the First Amended Complaint
                                                             2    that it owns protectable trade dress associated with its CHALK BOMB! Product and
                                                             3    that RMS’s CHALK SMASH mark has infringed and continues to infringe such trade
                                                             4    dress, a justiciable controversy exists between the parties as to infringement of such
                                                             5    trade dress.
                                                             6          124. RMS does not and has never infringed any trade dress associated with
                                                             7    Lanard’s CHALK BOMB! Product because there is no likelihood of confusion
                                                             8    between any such trade dress and that associated with the CHALK SMASH Product.
                                                             9          125. As a result of Lanard’s wrongful allegations of infringement, RMS has
                                                             10   suffered and will continue to suffer damages, including but not limited to lost sales,
                                                             11   unwarranted costs and fees, and harm to RMS’s reputation and goodwill.
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                                                             12                                 COUNTERCLAIM FOUR
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                                                             13      (Declaratory Judgment – Invalidity and Unenforceability of Any Allegedly
                                                             14                                   Infringed Trade Dress)
                                                             15         126. RMS repeats the allegations of Paragraphs 86 through 125 as if fully set
                                                             16   forth herein.
                                                             17         127. Any allegedly infringed trade dress associated with the CHALK BOMB!
                                                             18   Product is ineligible for protection due to a failure to satisfy the requirements set
                                                             19   forth under the Lanham Act, 15 U.S.C. §§ 1051 et seq.
                                                             20         128. Any allegedly infringed trade dress associated with Lanard’s CHALK
                                                             21   BOMB! Product is not distinctive, either inherently or because it has not acquired
                                                             22   secondary meaning.
                                                             23         129. Any allegedly infringed trade dress associated with Lanard’s CHALK
                                                             24   BOMB! Product is not associated with Lanard in the minds of consumers; does not
                                                             25   identify or distinguish Lanard’s product from the goods of others in the minds of
                                                             26   consumers; and/or is primarily functional in nature.
                                                             27
                                                             28                               22
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 23 of 27 Page ID #:206



                                                             1          130. Any allegedly infringed trade dress associated with Lanard’s CHALK
                                                             2    BOMB! Product is unenforceable due to Lanard’s inequitable conduct and unclean
                                                             3    hands with respect to its claims of infringement.
                                                             4                                  COUNTERCLAIM FIVE
                                                             5        (Declaratory Judgment – Non-infringement of the ’596 and ’220 Patents)
                                                             6          131. RMS repeats the allegations of Paragraphs 86 through 130 as if fully set
                                                             7    forth herein.
                                                             8          132. Lanard has filed the First Amended Complaint alleging that RMS’s
                                                             9    CHALK SMASH Product has infringed and continues to infringe the ’596 and ’220
                                                             10   Patents. As such, a justiciable controversy exists between the parties as to
                                                             11   infringement of each asserted patent.
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                                                             12         133. RMS does not and has never infringed the ’596 Patent because RMS’s
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                                                             13   CHALK SMASH Product has a different overall visual appearance than the patented
                                                             14   design.
                                                             15         134. RMS does not and has never infringed the ’220 Patent because RMS’s
                                                             16   CHALK SMASH Product has a different overall visual appearance than the patented
                                                             17   design.
                                                             18         135. As a result of Lanard’s wrongful allegations of infringement, RMS has
                                                             19   suffered and will continue to suffer damages, including but not limited to lost sales,
                                                             20   unwarranted costs and fees, and harm to RMS’s reputation and goodwill.
                                                             21                                 COUNTERCLAIM SIX
                                                             22    (Declaratory Judgment – Invalidity and Unenforceability of the ’596 and ’220
                                                             23                                           Patents)
                                                             24         136. RMS repeats the allegations of Paragraphs 86 through 135 as if fully set
                                                             25   forth herein.
                                                             26
                                                             27
                                                             28                               23
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
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                                                             1          137. The ’596 and ’220 Patents are invalid due to a failure to satisfy one or
                                                             2    more of the requirements of patentability set forth in 35 U.S.C. §§ 101 et seq.,
                                                             3    including without limitation §§ 102, 103, 112 and 171.
                                                             4          138. The ’596 and ’220 Patents are unenforceable due to Lanard’s inequitable
                                                             5    conduct and unclean hands with respect to its claims of infringement, and based on
                                                             6    the doctrine of patent misuse.
                                                             7                                     PRAYER FOR RELIEF
                                                             8          WHEREFORE, Defendant and Counterclaim-Plaintiff RMS respectfully prays
                                                             9    that this Court enter one or more orders holding as follows:
                                                             10         A.       That the First Amended Complaint be dismissed with prejudice as to
                                                             11   RMS (and as to Five Below to the extent the claims against it relate to RMS’s
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                                                             12   CHALK SMASH Product), and that Lanard take nothing by way of its First
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                                                             13   Amended Complaint;
                                                             14         B.       That RMS and Five Below have not infringed and do not infringe the
                                                             15   ’808 Registration;
                                                             16         C.       That the ’808 Registration is invalid and/or unenforceable;
                                                             17         D.       That RMS and Five Below have not infringed and do not infringe any
                                                             18   trade dress of Lanard associated with the CHALK BOMB! Product;
                                                             19         E.       That Lanard has asserted trade dress protection in this action and does
                                                             20   not possess any valid or protectable trade dress associated with the CHALK BOMB!
                                                             21   Product;
                                                             22         F.       That RMS and Five Below have not infringed and do not infringe the
                                                             23   ’596 Patent;
                                                             24         G.       That the ’596 Patent is invalid and/or unenforceable;
                                                             25         H.       That RMS and Five Below have not infringed and do not infringe the
                                                             26   ’220 Patent;
                                                             27         I.       That the ’220 Patent is invalid and/or unenforceable;
                                                             28                               24
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
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                                                             1          J.     That RMS (and Five Below to the extent the claims against it relate to
                                                             2    RMS’s CHALK SMASH Product) did not engage in any act of unfair competition;
                                                             3          K.     Permanently enjoining Lanard, its employees and agents, and any other
                                                             4    person acting in concert with it, from asserting or threatening to assert any alleged
                                                             5    rights arising under the ‘808 Registration against RMS or any of RMS’s customers or
                                                             6    potential customers (including, without limitation, Five Below);
                                                             7          L.     Permanently enjoining Lanard, its employees and agents, and any other
                                                             8    person acting in concert with it, from asserting or threatening to assert any alleged
                                                             9    rights arising under the ‘596 Patent against RMS or any of RMS’s customers or
                                                             10   potential customers (including, without limitation, Five Below);
                                                             11         M.     Permanently enjoining Lanard, its employees and agents, and any other
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                                                             12   person acting in concert with it, from asserting or threatening to assert any alleged
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                                                             13   rights arising under the ‘202 Patent against RMS or any of RMS’s customers or
                                                             14   potential customers (including, without limitation, Five Below);
                                                             15         N.     Entering judgment against Lanard and in favor of RMS on Counterclaim
                                                             16   One, in an amount to be determined;
                                                             17         O.     Entering judgment against Lanard and in favor of RMS on Counterclaim
                                                             18   Two, in an amount to be determined;
                                                             19         P.     Entering judgment against Lanard and in favor of RMS on Counterclaim
                                                             20   Three, in an amount to be determined;
                                                             21         Q.     Entering judgment against Lanard and in favor of RMS on Counterclaim
                                                             22   Four, in an amount to be determined;
                                                             23         R.     Entering judgment against Lanard and in favor of RMS on Counterclaim
                                                             24   Five, in an amount to be determined;
                                                             25         S.     Entering judgment against Lanard and in favor of RMS on Counterclaim
                                                             26   Six, in an amount to be determined;
                                                             27
                                                             28                               25
                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 26 of 27 Page ID #:209



                                                             1          T.    That this case is exceptional pursuant to 35 U.S.C. § 285 and 15 U.S.C.
                                                             2    § 1117(a) as against Lanard;
                                                             3          U.    Awarding RMS its costs and reasonable attorneys’ fees arising from this
                                                             4    action;
                                                             5          V.    Assessing punitive damages against Lanard as appropriate under any
                                                             6    applicable law;
                                                             7          W.    Granting any other and further relief as this Court deems just and proper.
                                                             8                                     JURY DEMAND
                                                             9          Defendant RMS hereby demands a trial by a jury on all issues so triable.
                                                             10
                                                             11                                         Respectfully submitted,
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12
                          400 South Hope Street, 8th Floor
Holland & Knight LLP

                              Los Angeles, CA 90071




                                                             13   Dated: October 3, 2018                HOLLAND & KNIGHT LLP
                                                             14
                                                             15                                         By:    /s/ Stacey H. Wang
                                                                                                              Stacey H. Wang
                                                             16
                                                                                                        Attorneys for Defendant RMS International
                                                             17                                         (USA) Inc.
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                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
                                              Case 2:18-cv-05845-CAS-MAA Document 28 Filed 10/03/18 Page 27 of 27 Page ID #:210



                                                             1                                   PROOF OF SERVICE
                                                             2
                                                                  State of California        )
                                                             3                               )      ss.
                                                                  County of Los Angeles      )
                                                             4
                                                                        I am employed in the County of Los Angeles, State of California. I am over
                                                             5    the age of 18 and not a party to the within action. My business address is 400 South
                                                                  Hope Street, 8th Floor, Los Angeles, California 90071.
                                                             6
                                                                        On October 3, 2018, I served the document described as DEFENDANT RMS
                                                             7    INTERNATIONAL (USA) INC.’S ANSWER AND COUNTERCLAIMS TO
                                                                  PLAINTIFF’S FIRST AMENDED COMPLAINT on the interested parties in this
                                                             8    action:
                                                             9    [x] By Electronic Transfer to the CM/ECF System
                                                             10          In accordance with Federal Rules of Civil Procedure 5(d) (3), Local Rule 5-
                                                                  3.2, and General Order 07-08, I uploaded via electronic transfer a true and correct
                                                             11   copy scanned into an electronic file in Adobe "pdf" format of the above-listed
                                                                  documents to the United States District Court Central District of California' Case
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12   Management and Electronic Case Filing (CM/ECF) system on this date. It is my
                          400 South Hope Street, 8th Floor




                                                                  understanding that by transmitting these documents to the CM/ECF system, they will
Holland & Knight LLP

                              Los Angeles, CA 90071




                                                             13   be served on all parties of record according to the preferences chosen by those parties
                                                                  within the CM/ECF system. The transmission was reported as complete and without
                                                             14   error.
                                                             15        I declare under penalty of perjury under the laws of the United States of
                                                                  America that the above is true and correct.
                                                             16
                                                                  Executed on October 3, 2018, at Los Angeles, California.
                                                             17
                                                                                                               /s/ Elena Zyalyukova
                                                             18                                                Elena Zyalyukova
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                                                                       DEFENDANT RMS INTERNATIONAL (USA) INC.’S ANSWER AND
                                                                                        COUNTERCLAIMS
